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United States Courts
UNITED STATES DISTRICT COURT SGUTHERH DIEKEEE OE TEES

SOUTHERN DISTRICT OF TEXAS FILED

HOUSTON DIVISION
April 30, 2019

UNITED STATES OF AMERICA, David J. Bradley, Clerk of Court

v. Criminal No.: H-4:19-cr-00234-S

(1) ASHLEY YEN NGUYEN, a/k/a “DUYEN”; UNDER SEAL _ Original file date

Counts 1, 5, 49, 53, 100, 104, 152, 156

(2) KHANH PHUONG NGUYEN;

Counts 1, 2, 49, 50, 100, 101, 152, 153
United States Courts

Southern District of Texas
FILED

May 09, 2019

(3) TUYEN THAI HUYNH;
Counts 1, 49, 100, 152

(4) HUNG PHUOC NGUYEN;
Counts 1, 49, 100, 152

David J. Bradley, Clerk of Court

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Redacted file date
(6) LAN MINH NGUYEN;
Counts 1, 47, 49, 98, 100, 150, 152, 202

(7) BINH THANH NGUYEN;
Counts 1, 48, 49, 99, 100, 131, 152, 203

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(10) KRISTINE GUZMAN;
Counts 1, 8, 49, 56, 100, 107, 152, 159

(11) JANIE GONZALEZ;
Counts 1, 3, 49, 51, 100, 102, 152, 154

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(16) RALPH RANDY PATINO;
Counts 1, 6, 49, 54, 100, 105, 152, 157

(17) NAM PHUONG HOANG;
Counts 1, 7, 49, 55, 100, 106, 152, 158

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(19) PHUC HOANG NGUYEN;
Counts 1, 8, 49, 56, 100, 107, 152, 159

(20) SERGIO MARTINEZ, JR.;
Counts 1, 9, 49, 58, 100, 110, 152, 162

(21) UYEN HA BAO TRAN;
Counts 1, 10, 49, 59, 100, 111, 152, 163

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(31) JUAN ALBERTO VIERA;
Counts 1, 15, 49, 64, 100, 115, 152, 167

 

(35) CUONG NGUYEN;
Counts 1, 18, 49, 66, 100, 118, 152, 170

 

(37) HOA VINH TRUONG;
Counts 1, 19, 49, 68, 100, 120, 152, 172

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(42) CYNTHIA MONJARAS;
Counts 1, 21, 49, 70, 100, 122, 152, 174

(43) KHANH PHI NGUYEN;
Counts 1, 22, 49, 71, 100, 123, 152, 175

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(46) LINH MY TRAN;
Counts 1, 24, 49, 73, 100, 128, 152, 180

(47) ADAN ALEXANDER MARTINEZ;
Counts 1, 24, 49, 73, 100, 128, 152, 180

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(49) JOE MANUEL CAZARES III, a/k/a
JOE MANUEL CAZARES II, a/k/a

JOE MANUEL CAZARES;

Counts 1, 25, 49, 75, 100, 127, 152, 179

(50) HAI THI HONG PHAM;
Counts 1, 26, 49, 74, 100, 125, 152, 177

  

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(55) TRAN HANH UYEN DO;
Counts 1, 29, 49, 78, 100, 130, 152, 182

(57) NEIDA NATALIE LUNA;
Counts 1, 30, 49, 79, 100, 132, 152, 184

 

 
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(60) SON TONG LAM;
Counts 1, 32, 49, 81, 100, 133, 152, 185

(62) NHAN NGUYEN NGOC DO;
Counts 1, 33, 49, 82, 100, 134, 152, 186

    

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(67) THOMAS AGUILAR;
Counts 1, 35, 49, 83, 100, 135, 152, 187

 
 
 

 

 

(69) MANUEL DEJESUS ROMERO;
Counts 1, 36, 49, 85, 100, 137, 152, 189

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(71) MELISSA MARICELA DELFIN;
Counts 1, 37, 49, 86, 100, 138, 152, 190

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(73) NICOLE RENEE HERNANDEZ;
Counts 1, 38, 49, 87, 100, 139, 152, 191
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(79) HARLEY DAMIAN;
Counts 1, 43, 49, 91, 100, 143, 152, 195

(80) MINH LE PHAM;
Counts 1, 44, 49, 92, 100, 144, 152, 196

(81) KHRYSTYNA REA GONZALEZ;
Counts 1, 44, 49, 92, 100, 144, 152, 196

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(83) ESTEPHANY JANETT MORENO;
Counts 1, 12, 49, 61, 100, 113, 152, 165

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(92) ASHLEY GREEN;
Counts 1, 40, 49, 88, 100, 140, 152, 192

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(96) TRANG LE NGUYEN,
a/k/a NGUYEN LE THIEN TRANG,
Counts 49, 59, 205, 206

Defendants.

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SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES THAT:
INTRODUCTION

At all times material to this indictment:

L (1) ASHLEY YEN NGUYEN, a/k/a DUYEN (hereinafter “DUYEN?”) is the leader

of a criminal organization based in Southwest Houston, Texas. In addition to having members in

Southwest Houston, this criminal organization has associates operating throughout Texas and

Vietnam who act in furtherance of its criminal scheme.

2: This criminal organization is operating a large-scale marriage fraud scheme, in

which it creates sham marriages in order to illegally obtain admission and immigrant status for

aliens in the United States. A “sham” marriage is a marriage that is entered into for the primary

purpose of circumventing the immigration laws.

3 DUYEN and her co-conspirators are engaged in a variety of criminal conduct,

including, but not limited to, marriage fraud, mail fraud and immigration fraud.
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4, Other leaders, organizers, and facilitators of this criminal organization include

Defendants (2) KHANH PHUONG NGUYEN, (3) TUYEN THAI HUYNH, (4) HUNG PHUOC
NGUYEN, iS (6) LAN MINH NGUYEN, (7) BINH THANH
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Pe (10) KRISTINE GUZMAN, (11) JANIE GONZALEZ, and others

known and unknown to the grand jury. (2) KHAN PHUONG NGUYEN is DUYEN’s daughter.
5. This criminal organization is using at least 5 residences in Houston, Texas in
furtherance of its criminal activities. These include:
a. 11531 High Star Drive, Houston, Texas 77072;

b. 4230 Alief Village Drive, Houston, Texas 77072;

Cc. 10911 Hazen Street, Houston, Texas 77072:
d. 11571 Willwood Drive, Houston, Texas 77072;
e. 11403 Carvel Lane, Houston, Texas 77072: and

f, 4414 Tufa Court, Houston, Texas 77072.
This criminal organization is also using other locations of operations in Vietnam.
IMMIGRATION PROCEDURES

6. The United States Citizenship and Immigration Services (“USCIS”) is a
government agency that oversees lawful immigration to the United States and provides the
procedures for United States citizens and permanent residents to acquire permanent resident status
for their immigration spouses living in the United States and abroad.

?. To perform this function, USCIS requires persons to submit various immigration

forms. These forms include:

a. Form I-130, Petition for Alien Relative (“I-130”);
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b. Form I-485, Application to Register Permanent Residence or Adjust Status
(“1-485”);
g. Form I-751, Petition to Remove Conditions on Residence (“1-751”);
d. Form 1-864, Affidavit of Support Under Section 213.4 of the INA (“1-864”);
and
e. Form I-129F, Petition for Alien Fiancé(e),
8. A non-citizen may seek to obtain lawful permanent resident status in the United

States based upon his/her valid marriage to a United States citizen.

0. The United States citizen in such a marriage who applies for such an immigration
benefit is hereinafter referred to as a “petitioner.” The non-citizen in such a marriage who
potentially would receive the immigration benefit as a result of that marriage is referred to as the
“beneficiary spouse.”

10. Form I-130. To accord the beneficiary spouse “immediate relative” status, a
petitioner must file an I-130 with USCIS. In support of the I-130, among other requirements, a
petitioner must submit the marriage certificate and indicate where both the petitioner and
beneficiary spouse reside and intend to reside.

ll. Form 1-485. Additionally, to adjust the beneficiary spouse’ s immigration status to
that of a lawful permanent resident, the beneficiary spouse must file an I-485 with USCIS. In an
1-485, the beneficiary spouse must provide his/her complete marital history and residential history
for the past five years. The beneficiary spouse must also indicate in the I-485 if he/she has:

a. “ever submitted fraudulent or counterfeit documentation to any U.S.
Government official to obtain or attempt to obtain any immigration benefit, including a visa or

entry into the United States;”
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b, “ever lied about, concealed, or misrepresented any information on an
application or petition to obtain a visa, other documentation required for entry into the United
States, admission to the United States, or any other kind of immigration benefit;” and

c. “ever committed a crime of any kind (even if you were not arrested, cited,
charged with, or tried for that crime).”

12. There is no waiting period (other than processing) for the beneficiary spouse to
adjust his/her status to that of a lawful permanent resident. If the I-130 and I-485 are approved,
the beneficiary spouse is accorded conditional permanent resident status. The conditional
permanent resident status expires after two years.

13. Form 1-864. In addition, the beneficiary spouse must also file a Form 1-864 which
must be signed under penalty of perjury by the petitioner (i.e., his/her United States citizen spouse),
in order to establish the beneficiary spouse has adequate means of financial support and is not
likely to rely on the United States government for financial support. In support of an I-864, the
beneficiary spouse must submit employment records, asset records, and tax returns of
himself/herself, his/her spouse, his/her household members, and/or his/her sponsor in order to
establish that their collective income is at least 125 percent of the current Federal poverty line.

14. Form I-751. Within ninety days of the conditional permanent resident status
expiration, and in order to have the conditions on the beneficiary spouse’s permanent resident
status removed, the petitioner and the beneficiary spouse must file an I-751 with USCIS. Absent
certification that the United States citizen spouse is deceased, the marriage ended in divorce, the
alien spouse suffered domestic violence from the United States citizen spouse, or the alien spouse

would suffer an extreme hardship if deported, the petitioner and beneficiary spouse submitting the

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I-751 must certify that the marriage was entered in accordance with the laws of the place where
the marriage took place and was not for the purpose of procuring an immigration benefit.

15. Form I-129F. Furthermore, an I-129F is required if a United States citizen is
seeking to have a non-citizen fiancé admitted that that they may get married in the United States.
An I-129F is submitted by the United States citizen spouse and allows his/her alien fiancé to enter
the United States as a nonimmigrant for the purpose of getting married within ninety days of the
alien fiancé’s arrival. Along with the I-129F, the United States citizen petitioner must also submit
evidence that he/she actually met the alien fiancé in person within the prior two years, or that there
were extreme hardships or strict and long-established customs of the alien fiancé’s culture or social
practice prohibiting such an in-person meeting.

16. Persons submitting Forms I-130, 1-485, I-864, I-751, and I-129F sign these forms
under penalty of perjury and certify all of the information provided is complete, true, and correct.
CRIMINAL CONSPIRACY

17. This criminal organization is operating a large-scale marriage fraud scheme in
which it creates sham marriages in order to illegally obtain admission and immigrant status for
aliens in the United States. The conspirators will pair aliens seeking these immigration benefits
with United States citizens, create sham marriages between them, and then file false forms with
USCIS in order to obtain these immigration benefits for the alien. The conspirators receive
monetary payments from these aliens and pay the United States citizens a fee for their role in this
conspiracy.

18. The marriages entered into through this criminal conspiracy are sham marriages in

that, among other things:

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a. the spouses do not live together and do not intend to live together, contrary
to documents and statements submitted to USCIS;

b. the spouses only meet briefly, immediately before they abeain their
marriage license, or not at all;

c. the spouses entered into the marriage pursuant to the financial arrangement
described in the following paragraphs; and

d. the spouses enter into the marriage for the primary purpose of
circumventing the immigration laws of the United States.

19. Aliens who seek to obtain admission and immigrant status through a sham marriage
arranged by this criminal conspiracy are described below as “beneficiary spouses.” In this criminal
conspiracy, the beneficiary spouses are non-citizens either living in another country and are
seeking admission to the United States, or are in the United States under some temporary non-
immigrant status.

20. The United States citizens who enter into sham marriages with these beneficiary
spouses are described below as “petitioners.”

21. Each beneficiary spouse entered in an agreement, which is sometimes written, with
DUYEN (1) and a company she does business as, in which the beneficiary spouse agrees to pay
the criminal organization a total of up to between approximately $50,000 and $70,000 to obtain
full lawful permanent resident status. These agreements are prorated such that the beneficiary
spouse agrees to pay an additional amount for each immigration benefit they receive, including,
but not limited to:

a, admission into the United States;

b. conditional permanent resident status, and

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c. full lawful permanent resident status.

22. (1) DUYEN and (2) KHANH PHUONG NGUYEN have entered into sham
marriages themselves as petitioners for beneficiary spouses.

23. (1) DUYEN, (2) KHANH PHUONG NGUYEN, and others also recruit other
United States citizens to act as petitioners in sham marriages. These petitioners receive a portion
of the proceeds this criminal organization receives from the beneficiary spouses.

24, Furthermore, several individuals that were recruited as petitioners soon after
became recruiters themselves. Such individuals include, but are not limited to aa:
MR (1 0) KRISTINE GUZMAN, and (11) JANIE GONZALEZ.

25. This criminal organization also employs individuals to be in charge of receiving the
proceeds from the beneficiary spouses and disbursing the payments to the petitioners. Two such
employed individuals are (3) TUYEN THAI HUYNH and (7) BINH THANH NGUYEN.

26. This criminal organization also employs individuals to act as guides for the United
States citizen petitioners when they had to travel to Vietnam under the guise that the United States
citizen would going to meet his/her fiancé, who, in truth, was a beneficiary spouse paying this

criminal organization in order to circumvent United States law. Such individuals include aes,

HE (1 0) KRISTINE GUZMAN.

27. The criminal organization also prepares, and provides to the petitioner and
beneficiary spouse, fake wedding albums containing photographs to make it appear as if they had
a wedding ceremony above and beyond a marriage at a courthouse.

28. This criminal organization also employs individuals to act as drivers to take

petitioners and beneficiary spouses to their sham marriage ceremonies, appointments with

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immigration officials at USCIS, and meetings with immigration document preparers. One such

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29. For the sham marriages involving non-citizens already in the United States, this
criminal organization arranges the filing with USCIS of false Forms I-130, 1-485, and I-751.

30. For the sham marriages and potential sham marriages involving non-citizens
abroad, this criminal organization arranges the filing of these false forms, as well as false Forms
I-129F with USCIS, as well as false applications for non-immigrant BI/B2 tourist visas in which
the beneficiary spouse would claim that he/she is seeking to come to the United States for a
temporary period as a tourist, but, in truth, was seeking to come to engage in an aforementioned
sham marriage.

31. The criminal organization also provides false tax, utility, and employment

information, and false documentation in support thereof, in order for USCIS to approve the false

immigration forms,

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COUNT ONE
(Conspiracy to Engage in Marriage Fraud)

Paragraphs 1-31 of the Introduction, and Counts 2-48 of this Indictment, are re-alleged and
incorporated herein by reference.

From on or about August 9, 2013, and continuing until on or about April 30, 2019, in the
Houston Division of the Southern District of Texas and elsewhere within the jurisdiction of the
Court,

(1) ASHLEY YEN NGUYEN, a/k/a DUYEN,
(2) KHANH PHUONG NGUYEN,
(3) TUYEN THAI HUYNH,
(4) HUNG PHUOC NGUYEN,
Sethe ae aaa
(6) LAN MINH NGUYEN,

(7) BINH THANH NGUYEN,
(10) KRISTINE GUZMAN,

(11) JANIE GONZALEZ,

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(16) RALPH RANDY PATINO,

(17) NAM PHUONG HOANG,

(19) PHUC HOANG NGUYEN,
(20) SERGIO MARTINEZ, JR.,

(21) UYEN HA BAO TRAN,
(31) JUAN ALBERTO VIERA,
(35) CUONG NGUYEN,

(37) HOA VINH TRUONG,
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(42) CYNTHIA MONJARAS,

(43) KHANH PHI NGUYEN,

(46) LINH MY TRAN,

(47) ADAN ALEXANDER MARTINEZ,

(49) JOE MANUEL CAZARES III, a/k/a JOE MANUEL CAZARES II, a/k/a
JOE MANUEL CAZARES,

(50) HAI THI HONG PHAM,

(55) TRAN HANH UYEN Do,

(57) NEIDA NATALIE LUNA,

(60) SON TONG LAM,

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(62) NHAN NGUYEN NGOC DO,

(67) THOMAS AGUILAR,

(69) MANUEL DEJESUS ROMERO,

(71) MELISSA MARICELA DELFIN,

(73) NICOLE RENEE HERNANDEZ,

(79) HARLEY DAMIAN,
(80) MINH LE PHAM,

(81) KHRYSTYNA REA GONZALEZ,

(83) ESTEPHANY JANETT MORENO,

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(92) ASHLEY GREEN,

defendants herein, did knowingly and willfully conspire, confederate, and agree with one another
and with persons known and unknown to the Grand Jury to commit and attempt to commit the
following offenses against the United States contained in Counts 2-48, that is the defendants
knowingly conspired to enter into marriages for the purpose of evading any provision of the
immigration laws of the United States.

a, In furtherance of the conspiracy, and to achieve its objects, the defendants
committed the overt acts alleged in Paragraphs 1-31 of the Introduction and Counts 2-48 of this
Indictment.

All in violation of Title 18, United States Code, Section 371.

COUNTS TWO THROUGH FORTY-EIGHT

(Marriage Fraud)

On or about the dates set forth below, in the Houston Division of the Southern District of
Texas and elsewhere within the jurisdiction of the Court, the defendants set forth below did
knowingly and unlawfully enter into marriage for the purpose of evading a provision of the

immigration laws of the United States.

 

 

 

 

 

 

 

Count Defendants Date of Marriage
(on or about)
Z August 9, 2013
(2) KHANH PHUONG NGUYEN
3 June 11, 2014
(11) JANIE GONZALEZ

 

 

 

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Count Defendants Date of Marriage
(on or about)
(es —— fe
5 ERR SA Seeger September 27, 2016
(1) ASHLEY YEN NGUYEN, a/k/a DUYEN
6 (16) RALPH RANDY PATINO January 25, 2017
T (17) NAM PHUONG HOANG July 21, 2017
8 (19) PHUC HOANG NGUYEN and November 9, 2017
(10) KRISTINE GUZMAN
9 (20) SERGIO MARTINEZ, JR. April 26, 2016
10 21) UYEN HA BAO TRAN November 29, 2017
Ti S| |
12 ‘eee eee November 2, 2015
(83) ESTEPHANY JANETT MORENO
13 Eee
14 ees
15 November 24, 2015
(31) JUAN ALBERTO VIERA

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18 35) CUONG NGUYEN April 19, 2016
19 (37) HOA VINH TRUONG June 1, 2016
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21 ee ae August 11, 2016

 

 

(42) CYNTHIA MONJARAS

 

 

 

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Count Defendants Date of Marriage
(on or about)
22 43) KHANH PHI NGUYEN September 30, 2016
a
24 (46) LINH MY TRAN and November 4, 2016
(47) ADAN ALEXANDER MARTINEZ
25 Eee | November 4, 2016
(49) JOE MANUEL CAZARES III, a/k/a JOE MANUEL
CAZARES II, a/k/a JOE MANUEL CAZARES
26 (50) HAI THI HONG PHAM November 29, 2016
27 ra 8=6FMUi‘(‘+=tP-: | aaa
—
29 (55) TRAN HANH UYEN DO January 25, 2017
30 oe ae February 10, 2017
(57) NEIDA NATALIE LUNA
2:
32 60) SON TONG LAM February 24, 2017
33 (62) NHAN NGUYEN NGOC DO February 28, 2017
34 eee a
35 | ait es ae] May 9, 2017
(67) THOMAS AGUILAR
36 ee July 3, 2017
(69) MANUEL DEJESUS ROMERO
37 (i a ee July 25, 2017
(71) MELISSA MARICELA DELFIN
38 He January 8, 2018
(73) NICOLE RENEE HERNANDEZ
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Count Defendants Date of Marriage
(on or about)

 

 

 

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(92) ASHLEY GREEN
“ i. <=
° ————— so
43 ee eee July 24, 2018

(79) HARLEY DAMIAN

 

 

44 (80) MINH LE PHAM and August 6, 2018
(81) KHRYSTYNA REA GONZALEZ

 

 

 

45 ll! a
a =
47 (6) LAN MINH NGUYEN [i September 2, 2015

 

48 "4 BINH THANH NGUYEN - August 2, 2017

 

 

 

 

 

All in violation of Title 8, United States Code, Section 1325(c) and Title 18, United

States Code, Section 2.
COUNT FORTY-NINE
(Conspiracy to Commit Mail Fraud)

l. Paragraphs 1-31 of the Introduction and Counts 1-48 and 50-203 of this Indictment,
are re-alleged and incorporated herein by reference.

De From on or about November 13, 2013, and continuing until on or about pil 30,
2019, in the Houston Division of the Southern District of Texas and elsewhere within the
jurisdiction of the Court,

(1) ASHLEY YEN NGUYEN, a/k/a DUYEN,

(2) KHANH PHUONG NGUYEN,

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(3) TUYEN THAI HUYNH,
(4) HUNG PHUOC NGUYEN,
(6) LAN MINH NGUYEN,

(7) BINH THANH NGUYEN,
(10) KRISTINE GUZMAN,

(11) JANIE GONZALEZ,

(16) RALPH RANDY PATINO,

(17) NAM PHUONG HOANG,

(19) PHUC HOANG NGUYEN,
(20) SERGIO MARTINEZ, JR.,

(21) UYEN HA BAO TRAN,

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(31) JUAN ALBERTO VIERA,

(35) CUONG NGUYEN,

(37) HOA VINH TRUONG,

(42) CYNTHIA MONJARAS,

(43) KHANH PHI NGUYEN,

(46) LINH MY TRAN,

(47) ADAN ALEXANDER MARTINEZ,

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(49) JOE MANUEL CAZARES III, a/k/a JOE MANUEL CAZ.ARES II, a/k/a
JOE MANUEL CAZARES

(50) HAI THI HONG PHAM,

(55) TRAN HANH UYEN DO,

(57) NEIDA NATALIE LUNA,
(60) SON TONG LAM,

(62) NHAN NGUYEN NGOC DO,

(67) THOMAS AGUILAR,

(69) MANUEL DEJESUS ROMERO,

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(71) MELISSA MARICELA DELFIN,

(73) NICOLE RENEE HERNANDEZ,

(79) HARLEY DAMIAN,
(80) MINH LE PHAM,

(81) KHRYSTYNA REA GONZALEZ,

(83) ESTEPHANY JANETT MORENO,

(92) ASHLEY GREEN,

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(96) TRANG LE NGUYEN, a/k/a NGUYEN LE THIEN TRANG,

defendants herein, did knowingly conspire, confederate, and agree with each other and with others
known and unknown to the Grand Jury to commit the following offenses against the United States:
to knowingly and willfully, in violation of Title 18, United States Code, Section 1341, execute a
scheme and artifice to defraud United States Citizenship and Immigration Services and obtain
fraudulent marriage licenses and immigration benefits based thereon by means of false and
fraudulent pretenses, representations, and promises and for the purpose of executing and
attempting to execute the above described scheme and artifice to defraud, did place in any post
office and authorized depository for mail, the items set forth in Counts 50-99 below on or about
the dates set forth therein.

a: In furtherance of the conspiracy, and to achieve its objects, the defendants
committed the sven acts alleged in Paragraphs 1-31 of the Introduction, and Counts 1-48 and 50-
203 of this Indictment.

All in violation of Title 18, United States Code, Sections 1349 and 1341.

COUNTS FIFTY THROUGH NINETY-NINE
(Mail Fraud)

On or about the dates set forth below, in the Houston Division of the Southern District of
Texas and elsewhere within the jurisdiction of the Court, the defendants set forth in the counts
below, aiding and abetting each other and others known and unknown to the Grand Jury, with the
intent to defraud, devised and willfully participated in, with knowledge of its fraudulent manner,

the below-described scheme and artifice to defraud and obtain immigration benefits by materially

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false and fraudulent pretenses, representations, and promises, and for the Purpose of executing and

attempting to execute the below-described scheme and artifice to defraud and obtain immigration

benefits, the defendants knowingly placed in a United States Postal Service post office and United

States Postal Service authorized depository for mail, to be sent and delivered by the United States

Postal Service, the following:

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

Count Defendants Date Reason Documents Documents
Deposited Were Fraudulent Deposited
in Mail in Mail
(On or about)
50 oo November | Documents submitted included forged _ | 1-130,
13, 2013 signatures, false statements under 1-485,
(2) KHANH penalty of perjury, and fictitious
PHOUNG NGUYEN addresses, cohabitants, and employment
verification letters.
51 June 21, Documents submitted included forged | I-130,
2014 signatures, false statements under 1-485
penalty of perjury, and fictitious
(11) JANIE addresses, cohabitants, and employment
GONZALEZ verification letters.
—-_.e
53 October 12, | Documents submitted included forged | 1-130,
2016 signatures, false statements under 1-485
penalty of perjury, and fictitious
(1) ASHLEY YEN addresses, cohabitants, and employment
NGUYEN verification letters.
54 | (16) RALPH RANDY | May 15, Documents submitted included forged | I-130,
PATINO 2017 signatures, false statements under 1-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
55 (17) NAM PHUONG | August 4, Documents submitted included forged _| 1-130,
HOANG 2017 signatures, false statements under 1-485

 

 

 

 

penalty of perjury, and fictitious
addresses, cohabitants, and employment

 

verification letters.

 

 

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Count Defendants Date Reason Documents Documents
Deposited Were Fraudulent Deposited
in Mail in Mail
(On or about)
56 (19) PHUC HOANG | November | Documents submitted included forged | I-130,
NGUYEN 27,2017 signatures, false statements under [-485
and penalty of perjury, and fictitious
(10) KRISTINE addresses, cohabitants, and employment
GUZMAN verification letters.
57 = Res
58 (20) SERGIO May 11, Documents submitted included forged | I-130,
MARTINEZ, JR. 2016 signatures, false statements under 1-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
59 (21) UYEN HA BAO } June 1, Documents submitted included forged | 1-130,
TRAN, 2018 signatures, false statements under 1-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
(96) TRANG LE
NGUYEN, a/k/a
NGUYEN LE THIEN
TRANG
- -
61 December | Documents submitted included forged | I-130,
(83) ESTEPHANY | 10, 2015 signatures, false statements under 1-485
JANETT MORENO penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
62

 

  

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Reason Documents
Were Fraudulent

Documents
Deposited
in Mail

-

 

 

 

 

 

 

 

 

 

  

Documents submitted included forged
signatures, false statements under
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.

1-130,
[-485

-

 

Documents submitted included forged
signatures, false statements under
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.

 

a

]-130,
[-485

 

 

 

 

 

 

Count Defendants Date
Deposited
in Mail
(On or about)
Le
64 March 8,
2016
(31) JUAN
ALBERTO VIERA
r
66 (35) CUONG May 10,
NGUYEN [ 2016
r
68 (37) HOA VINH July 7, 2016
TRUONG :
° r
70 September
16, 2016
(42) CYNTHIA
MONJARAS

 

   
 

 

 

Documents submitted included forged
signatures, false statements under
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.

I-130,
1-485

 

 

 

 

 

 

 

Documents submitted included forged
signatures, false statements under
penalty of perjury, and fictitious
addresses, cohabitants, and employment

[-130,
1-485

 

 

verification letters.

 

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Count Defendants Date Reason Documents Documents
Deposited Were Fraudulent Deposited
in Mail in Mail
(On or about)
71 (43) KHANH PHI | October 25, | Documents submitted included forged. - | I-130,
NGUYEN 2016 signatures, false statements under 1-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
: - i:
73 (46) LINH MY January 26, | Documents submitted included forged | I-130,
TRAN and 2017 signatures, false statements under 1-485
(47) ADAN penalty of perjury, and fictitious
ALEXANDER addresses, cohabitants, and employment
MARTINEZ verification letters.
74 (50) HAI THLHONG | January 26, | Documents submitted included forged | I-130,
PHAM 2017 signatures, false statements under 1-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
75 le January 27, | Documents submitted included forged | 1-130,
2017 signatures, false statements under 1-485
(49) JOE MANUEL penalty of perjury, and fictitious
CAZARES III, a/k/a addresses, cohabitants, and employment
JOE MANUEL verification letters.
CAZARES II, a/k/a
JOE MANUEL
CAZARES
i > a
, -
78 (55) TRAN HANH | March 2, Documents submitted included forged I-130,
UYEN DO 2017 signatures, false statements under 1-485
penalty of perjury, and fictitious

 

 

 

 

 

 

31
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Count Defendants Date Reason Documents Documents
Deposited Were Fraudulent Deposited
in Mail in Mail
(On or about)
addresses, cohabitants, and employment
verification letters.
719 March 7, Documents submitted included forged [-130,
2017 signatures, false statements under 1-485
(57) NEIDA penalty of perjury, and fictitious
NATALIE LUNA addresses, cohabitants, and employment
verification letters.
=
81 (60) SON TONG March 15, | Documents submitted included forged | I-130,
LAM 2017 signatures, false statements under 1-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
82 (62) NHAN May 15, Documents submitted included forged | I-130,
NGUYEN NGOC DO | 2017 signatures, false statements under 1-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
83 June 8, Documents submitted included forged | 1-130,
2017 signatures, false statements under 1-485
penalty of perjury, and fictitious
(67) THOMAS addresses, cohabitants, and employment
AGUILAR verification letters.
84
85 July 20, Documents submitted included forged | I-130,
2017 signatures, false statements under 1-485
(69) MANUEL penalty of perjury, and fictitious
DEJESUS ROMERO addresses, cohabitants, and employment
verification letters.
86 August 14, | Documents submitted included forged | I-130,
2017 signatures, false statements under [-485
(71) MELISSA penalty of perjury, and fictitious
MARICELA addresses, cohabitants, and employment
DELFIN verification letters.

 

 

 

 

 

 

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Count Defendants Date Reason Documents Documents
Deposited Were Fraudu lent Deposited
in Mail in Mail
(On or about)
87 January 16, | Documents submitted included forged | I-130,
2018 signatures, false statements under 1-485
(73) NICOLE penalty of perjury, and fictitious
RENEE addresses, cohabitants, and employment
HERNANDEZ verification letters.
88 April 2, Documents submitted included forged | I-130,
2018 signatures, false statements under 1-485
(92) ASHLEY penalty of perjury, and fictitious
GREEN addresses, cohabitants, and employment
verification letters.
? r #
- #
91 August 2, Documents submitted included forged | I-130,
2018 signatures, false statements under 1-485
(79) HARLEY penalty of perjury, and fictitious
DAMIAN addresses, cohabitants, and employment
verification letters.
92 (80) MINH LE August 10, | Documents submitted included forged | I-130,
PHAM and 2018 signatures, false statements under 1-485
(81) KHRYSTYNA penalty of perjury, and fictitious
REA GONZALEZ addresses, cohabitants, and employment
verification letters.
: — las
94 CZ ee

 

  

 

 

 

 

 

 

 

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Count Defendants Date Reason Documents Documents
Deposited Were Fraudulent Deposited
in Mail in Mail
(On or about)
r Z
- -
’ r i
98 (6) LAN MINH November | Documents submitted included forged | 1-130,
NGUYEN 5, 2015 signatures, false statements under 1-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.
99 (7) BINH THANH | September | Documents submitted included forged | I-130,
NGUYEN 7, 2017 signatures, false statements under [-485
penalty of perjury, and fictitious
addresses, cohabitants, and employment
verification letters.

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1341 and 2.

I.

COUNT ONE HUNDRED

(Conspiracy to Commit Immigration Fraud)

Paragraphs 1-31 of the Introduction and Counts 1-99, and 101-203 of this

Indictment are re-alleged and incorporated herein by reference.

2.

From on or about November 18, 2013, and continuing until on or about April 30,

2019, in the Houston Division of the Southern District of Texas and elsewhere within the

Jurisdiction of the Court,

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(1) ASHLEY YEN NGUYEN, a/k/a DUYEN,
(2) KHANH PHUONG NGUYEN,
(3) TUYEN THAI HUYNH,
(4) HUNG PHUOC NGUYEN,
(6) LAN MINH NGUYEN,

(7) BINH THANH NGUYEN,

(10) KRISTINE GUZMAN,

(11) JANIE GONZALEZ,

(16) RALPH RANDY PATINO,

(17) NAM PHUONG HOANG,

(19) PHUC HOANG NGUYEN,
(20) SERGIO MARTINEZ, JR.,

(21) UYEN HA BAO TRAN,

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wi
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(31) JUAN ALBERTO VIERA,

(35) CUONG NGUYEN,

(37) HOA VINH TRUONG,

(42) CYNTHIA MONJARAS,

(43) KHANH PHI NGUYEN,

36
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(46) LINH MY TRAN,

(47) ADAN ALEXANDER MARTINEZ,

(49) JOE MANUEL CAZARES III, a/k/a JOE MANUEL CAZARES I
a/k/a JOE MANUEL CAZARES

(50) HAI THI HONG PHAM,

(55) TRAN HANH UYEN DO,

(57) NEIDA NATALIE LUNA,
(60) SON TONG LAM,

(62) NHAN NGUYEN NGOC DO,

(67) THOMAS AGUILAR,

37
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(69) MANUEL DEJESUS ROMERO,

(71) MELISSA MARICELA DELFIN,

(73) NICOLE RENEE HERNANDEZ,

(79) HARLEY DAMIAN,
(80) MINH LE PHAM,

(81) KHRYSTYNA REA GONZALEZ,

(83) ESTEPHANY JANETT MORENO,

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(92) ASHLEY GREEN,

defendants herein, did knowingly and willfully conspire, confederate, and agree with one another
and with persons known and unknown to the Grand Jury to commit and attempt to commit the
following offenses against the United States contained in Counts 101-151, that is, the defendants
knowingly presented and made under oath and subscribed as true false statements with respect to
material facts in immigration documents.

3, In furtherance of this conspiracy, and it achieve its objects, the defendants
committed the overt acts alleged in Paragraphs 1-31 of the Introduction and Counts 1-99 and 101-
203 of this Indictment.

All in violation of Title 18, United States Code, Section 371.
COUNTS ONE HUNDRED ONE THROUGH ONE HUNDRED AND FIFTY-ONE

(Immigration Fraud - False and Fraudulent Statements in Immigration Documents)

On or about the date set forth in the counts below, in the Houston Division of the Southern
District of Texas and elsewhere within the jurisdiction of the Court, the defendants set forth in the
counts below, aiding and abetting each other and others known and unknown to the Grand Jury,
did knowingly present and make under oath and subscribe as true under penalty of perjury under
28 U.S.C. § 1746, a false statement with respect to a material fact in an application, affidavit and
document required by the immigration laws and regulations prescribed thereunder, in that:

1. Defendants claimed that they resided with the spouse at the address listed and that the
letters and documents verifying such joint residence were truthful and not fictitious;

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2. Defendants claimed that that they worked at the jobs listed and that the letters verifying
such employment were truthful and not fictitious;

3. Defendants claimed that the signatures contained on their immigration documentation
and supporting application were not forged; and

4. Defendants answered “no” to the following questions under oath and penalty of
perjury:

a. Have you ever submitted fraudulent or counterfeit documentation to any U.S.
Government official to obtain or attempt to obtain any immigration benefit,
including a visa or entry into the United States;

b. Have you ever lied about, concealed, or misrepresented any information on an
application or petition to obtain a visa, other documentation required for entry
into the United States, admission to the United States, or any other kind of
immigration benefit; and

c. Have you ever committed a crime of any kind (even if you were not arrested,
cited, charged with, or tried for that crime),

which statements the defendants described below knew were false because:

1. Defendants knew they did not reside with the spouse at the address indicated and that
documents stating they did were not truthful;

2, Defendants knew they did not work at the jobs listed and that letters stating they did
were not truthful;

3. Defendants knew that the signatures claiming to be theirs and others they knew were
not their own and of the individuals they knew; and

4. Defendants knew that the documentation submitted was fraudulent and such fraudulent
documentation was submitted to obtain an immigration benefit, they had lied and made
misrepresentations in the documentation submitted which were submitted for
immigration benefits, and they had engaged in marriage fraud.

 

Count Defendants Date false statement Document in
made and application which false
filed (on or about) statement made

 

 

101 Re ei cas November 18, 2013 1-130,
2) KHANH NGUYEN 1-485

 

 

102 June 26, 2014 I-130,

 

 

 

 

 

 

11) JANIE GONZALEZ 1-485
103 gc eee #

 

 

 

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Count Defendants Date false statement Document in
made and application which false
filed (on or about) statement made
104 October 12, 2016 I-130,
(1) ASHLEY YEN NGUYEN, a/k/a 1-485
DUYEN
105 (16) RALPH RANDY PATINO May 22, 2017 I-130,
1-485
106 (17) NAM PHUONG HOANG August 14, 2017 1-130,
1-485
107 (19) PHUC HOANG NGUYEN and November 30, 2017 I-130,
10) KRISTINE GUZMAN [-485
108
109 eae
110 (20) SERGIO MARTINEZ, JR. May 16, 2016 [-130,
1-485
111 21) UYEN HA BAO TRAN, June 1, 2018 1-130,
1-485
112 ee oe
113 December 14, 2015 1-130,
(83) ESTEPHANY JANETT MORENO [1-485
114 cee
115 March I1, 2016 I-130,
31) JUAN ALBERTO VIERA 1-485
116 a
7 7
118 June 13, 2016 I-130,
1-485
119 eT
120 July 11, 2016 I-130,
]-485
121 ase
122 September 19, 2016 I-130,
(42) CYNTHIA MONJARAS 1-485
123 bas KHANH PHI NGUYEN a October 31, 2016 1-130,
1-485

 

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Count Defendants Date false statement Document in
made and application which false
filed (on or about) statement made
ind ‘eee
125 (50) HAI THI HONG PHAM January 31, 2017 I-130,
I-485
126 eo ae i
127 are | January 31, 2017 1-130,
(49) JOE MANUEL CAZARES III, a/k/a 1-485
JOE MANUEL CAZARES II, a/k/a JOE
MANUEL CAZARES
128 (46) LINH MY TRAN and February 2, 2017 [-130,
(47) ADAN ALEXANDER MARTINEZ 1-485
130 (55) TRAN HANH UYEN DO March 6, 2017 1-130,
1-485
131 Ds
132 March 13, 2017 I-130,
(57) NEIDA NATALIE LUNA 1-485
133 60) SON TONG LAM March 20, 2017 1-130,
[-485
134 (62) NHAN NGUYEN NGOC DO May 19, 2017 I-130,
1-485
135 June 12, 2017 I-130,
67) THOMAS AGUILAR 1-485
136 =
137 July 26, 2017 I-130,
(69) MANUEL DEJESUS ROMERO 1-485
138 August 21, 2017 1-130,
(71) MELISSA MARICELA DELFIN 1-485
139 ee thn January 25, 2018 1-130,
73) NICOLE RENEE HERNANDEZ 1-485
| rr 35-205 130
92) ASHLEY GREEN 1-485
141 Oe
142 es oe
143 August 3, 2018 I-130,
(79) HARLEY DAMIAN [-485

 

 

 

 

 

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Count Defendants Date false statement | Document in
made and application which false
filed (on or about) statement made
144 (80) MINH LE PHAM and August 10, 2018 I-130,
(81) KHRYSTYNA REA GONZALEZ 1-485
145
146
147
148
149
150 (6) LAN MINH NGUYEN November 9, 2015 1-130,
1-485
151 (7) BIN THANH NGUYEN September 11, 2017 1-130,
1-485

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1546(a) and 2.
COUNT ONE HUNDRED FIFTY-TWO

(Conspiracy to Make False Statements Under Oath
In Matter Relating To Registry of Aliens)

l. Paragraphs 1-31 of the Introduction and Counts 1-151 and 152-203 of this
Indictment are re-alleged and incorporated herein by reference.
2. From on or about November 18, 2013 and continuing until on or about April 30,
2019, in the Houston Division of the Southern District of Texas and elsewhere within the
jurisdiction of the Court,
(1) ASHLEY YEN NGUYEN, a/k/a DUYEN,
(2) KHANH PHUONG NGUYEN,
(3) TUYEN THAI HUYNH,

(4) HUNG PHUOC NGUYEN,

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(6) LAN MINH NGUYEN,

(7) BINH THANH NGUYEN,
(10) KRISTINE GUZMAN,

(11) JANIE GONZALEZ,

(16) RALPH RANDY PATINO,

(17) NAM PHUONG HOANG,

(19) PHUC HOANG NGUYEN,
(20) SERGIO MARTINEZ, JR.,

(21) UYEN HA BAO TRAN,

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(31) JUAN ALBERTO VIERA,

(35) CUONG NGUYEN,

(37) HOA VINH TRUONG,

(42) CYNTHIA MONJARAS,

(43) KHANH PHI NGUYEN,

(46) LINH MY TRAN,

(47) ADAN ALEXANDER MARTINEZ,

(49) JOE MANUEL CAZARES III, a/k/a JOE MANUEL CAZARES II,
a/k/a JOE MANUEL CAZARES,

45
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(50) HAI THI HONG PHAM,

(55) TRAN HANH UYEN DO,

(57) NEIDA NATALIE LUNA,

(60) SON TONG LAM,

(62) NHAN NGUYEN NGOC Do,

(67) THOMAS AGUILAR,

(69) MANUEL DEJESUS ROMERO,

(71) MELISSA MARICELA DELFIN,

46
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(73) NICOLE RENEE HERNANDEZ,

(79) HARLEY DAMIAN,
(80) MINH LE PHAM,

(81) KHRYSTYNA REA GONZALEZ,

(83) ESTEPHANY JANETT MORENO,

(92) ASHLEY GREEN,

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defendants herein, did knowingly and willfully conspire, confederate, and agree with one another
and with persons known and unknown to the Grand Jury to commit and attempt to commit the
following offenses against the United States contained in Counts 153-203, that is the defendants
knowingly made false statements under oath in matters relating to the registry of aliens.

3 In furtherance of this conspiracy, and to achieve its objects, the defendants
committed the overt acts alleged in paragraphs 1-31 of the Introduction and Counts 1-151 and 153-
203 of this Indictment.

All in violation of Title 18, United States Code, Section 371.
COUNTS ONE HUNDRED FIFTY-THREE THROUGH TWO HUNDRED THREE

(False Statements Under Oath In Matters Relating To Registry Of Alien)

On or about the dates set forth below, in the Southern District of Texas and elsewhere
within the jurisdiction of the Court, the defendants, aiding and abetting each other and others
known and unknown to the Grand Jury, did knowingly make a false statement under oath, namely,
those identified in Counts 101-151 in the matters set forth below, which relate to, and are under a

law of the United States relating to, the registry of aliens.

 

 

 

  
 
 

 

 

 

 

 

 

 

Count Defendants Date false statement Document in
made and application which false
filed (on or about) | statement made
153 [cae ine eae a | November 18, 2013 1-130,
2) KHANH NGUYEN 1-485
154 aa
155 ie
156 October 12, 2016 1-130,
(1) ASHLEY YEN NGUYEN, a/k/a 1-485
DUYEN
157 (16) RALPH RANDY PATINO May 22, 2017 1-130,
1-485

 

 

 

 

 

 

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Count Defendants Date false statement Document in
made and application which false
filed (on or about) | statement made
158 (17) NAM PHUONG HOANG August 14, 2017 1-130,
1-485
159 (19) PHUC HOANG NGUYEN and November 30, 2017 1-130,
10) KRISTINE GUZMAN 1-485
160 aa
161 ka a
162 (20) SERGIO MARTINEZ, JR. May 16, 2016 [-130,
1-485
163 21) UYEN HA BAO TRAN, June 1, 2018 I-130,
1-485
164 ay ca
165 December 14, 2015
(83) ESTEPHANY JANETT MORENO
166 | eee
167 March 11, 2016
31) JUAN ALBERTO VIERA
168 eee
169 Ey («|
170 35) CUONG NGUYEN June 13, 2016
171 ae i
172 37) HOA VINH TRUONG July 11, 2016 1-130,
[-485
173 ce ee ral
174 September 19, 2016 1-130,
(42) CYNTHIA MONJARAS 1-485
175 43) KHANH PHI NGUYEN October 31, 2016 1-130,
[-485
176 aa a
177 (50) HAI THI HONG PHAM January 31, 2017 1-130,
1-485

 

 

 

 

 

 

 

 

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Count Defendants Date false statement Document in
made and application which false
filed (on or about) statement made
o = =| SEER
179 | ae ae | January 31, 2017 1-130,
(49) JOE MANUEL CAZARES III, a/k/a 1-485
JOE MANUEL CAZARES II, a/k/a JOE
MANUEL CAZARES
180 (46) LINH MY TRAN and February 2, 2017 1-130,
(47) ADAN ALEXANDER MARTINEZ 1-485
182 (55) TRAN HANH UYEN DO March 6, 2017 1-130,
1-485
re
184 March 13, 2017 1-130,
(57) NEIDA NATALIE LUNA 1-485
185 60) SON TONG LAM March 20, 2017 1-130,
1-485
186 (62) NHAN NGUYEN NGOC DO May 19, 2017 1-130,
1-485
187 June 12, 2017 1-130,
1-485
67) THOMAS AGUILAR
188 ae =—CT a
189 July 26, 2017 1-130,
(69) MANUEL DEJESUS ROMERO 1-485
| re x sis20 3007 Ts:
(71) MELISSA MARICELA DELFIN 1-485
191 (hr VSS ee January 25, 2018 1-130,
73) NICOLE RENEE HERNANDEZ 1-485
| ers 7 c°5 2008 ss
92) ASHLEY GREEN 1-485
193 a
194 aay
195 August 3, 2018 1-130,
(79) HARLEY DAMIAN 1-485
196 (80) MINH LE PHAM and August 10, 2018 1-130,
(81) KHRYSTYNA REA GONZALEZ 1-485

 

 

 

 

 

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Count Defendants Date false statement Document in
made and application which false
filed (on or about) | statement made
197 ie
198 cc ae
199 es
200 Tz ae
201 Poe &
202 (6) LAN MINH NGUYEN November 9, 2015 I-130,
1-485
203 (7) BINH THANH NGUYEN September 11, 2017 1-130,

   

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1015(a) and 2.

COUNT TWO HUNDRED FOUR

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COUNT TWO HUNDRED FIVE
(Obstructing and Impeding the Due Administration of J ustice)
On or about March 26, 2019, in the Houston Division of the Southern District of Texas,
(96) TRANG LE NGUYEN, a/k/a NGUYEN LE THIEN TRANG,
the defendant, did corruptly and by any threatening communication, influence, obstruct and
impede and endeavor to influence, obstruct and impede the due administration of justice in a
federal grand jury in the United States District Court for the Southern District of Texas, by, after
preparing paperwork associated with one or more of the fraudulent marriages identified in this
indictment, informing K.M.N.N., an individual who was a party to one of the fraudulent marriages
identified in this indictment and whom had provided information on the scheme to federal law
enforcement that was the subject of an ongoing grand jury investigation, that K.M.N.N. should, as
a result of her providing such information to law enforcement, go into hiding so as to not be found
by federal law enforcement, not engage in any air travel that may alert federal law enforcement to
her presence, and not provide any further information to law enforcement.
In violation of Title 18, United States Code, Section 1503(a).
COUNT TWO HUNDRED SIX
(Tampering With a Witness, Victim, or Informant)
On or about March 26, 2019, in the Houston Division of the Southern District of Texas,
(96) TRANG LE NGUYEN, a/k/a NGUYEN LE THIEN TRANG,
the defendant, did hinder, delay, prevent the communication by K.M.NN. to Department of

Homeland Security Special Agent Paul Skinner and United States Citizenship and Immigration

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Services Investigator and Immigration Officer Ronald Mauldin, law enforcement officers, of
information relating to the commission of federal offenses, namely, violations of 8 U.S.C, sec.
1325(a), and 18 U.S.C. secs. 371, 1015, 1341, 1349, and 1546(a), and did knowingly attempt,
corruptly persuade, and engage in misleading conduct toward K.M.N.N., and cause and induce
K.M.N.N. to withhold testimony before a federal grand jury, and be absent from and evade legal
process to appear as a witness before a federal grand jury with the intent to influence, delay, and
prevent the testimony of K.M.N.N. in an official proceeding, namely a federal grand jury
investigation, by, after preparing paperwork associated with one or more of the fraudulent
marriages identified in this indictment, informing K.M.N.N., an individual who was a party to one
of the fraudulent marriages identified in this indictment and whom had provided information on
the scheme to federal law enforcement that was the subject of an ongoing grand jury investigation,
that K.M.N.N. should, as a result of her providing such information to law enforcement, go into
hiding so as to not be found by federal law enforcement, not engage in any air travel that may alert
federal law enforcement to ee presence, and not provide any further information to law

enforcement.

In violation of Title 18, United States Code, Section 1512(b).

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NOTICE OF CRIMINAL FORFEITURE
(18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c))

Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States
- Code, Section 2461(c), the United States gives notice to defendants,
ASHLEY YEN NGUYEN, a/k/a DUYEN,
KHANH PHUONG NGUYEN,
TUYEN THAI HUYNH,

HUNG PHUOC NGUYEN,

LAN MINH NGUYEN,

BINH THANH NGUYEN,
KRISTINE GUZMAN,

JANIE GONZALEZ,
RALPH RANDY PATINO,

NAM PHUONG HOANG,

PHUC HOANG NGUYEN,

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SERGIO MARTINEZ, JR.,

UYEN HA BAO TRAN,

JUAN ALBERTO VIERA,
CUONG NGUYEN,
HOA VINH TRUONG,

CYNTHIA MONJARAS,
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KHANH PHI NGUYEN,
LINH MY TRAN,

ADAN ALEXANDER MARTINEZ,

JOE MANUEL CAZARES III, a/k/a JOE MANUEL CA ZARES II,
a/k/a JOE MANUEL CAZARES,

HAI THI HONG PHAM,

TRAN HANH UYEN DO,

NEIDA NATALIE LUNA,
SON TONG LAM,

NHAN NGUYEN NGOC DO,
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THOMAS AGUILAR,

MANUEL DEJESUS ROMERO,

MELISSA MARICELA DELFIN,

NICOLE RENEE HERNANDEZ,

HARLEY DAMIAN,
MINH LE PHAM,

KHRYSTYNA REA GONZALEZ,

ESTEPHANY JANETT MORENO,

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ASHLEY GREEN,

TRANG LE NGUYEN, a/k/a NGUYEN LE THIEN TRANG,
that in the event of conviction of an offense in violation of Title 18, United States Code, Sections
1341 or 1349 as charged in Counts Forty-Nine through Ninety-Nine of this Indictment or an
offense in violation of Title 18, United States Code, Sections 1503 or 1512 as charged in Counts
Two Hundred Five and Two Hundred Six of this Indictment, all property, real or personal, which

constitutes or is derived from proceeds traceable to such violation is subject to forfeiture.

NOTICE OF CRIMINAL FORFEITURE
(18 U.S.C. § 982(a)(6))

Pursuant to Title 18, United States Code, Section 982(a)(6), the United States gives notice

to Defendants

ASHLEY YEN NGUYEN, a/k/a DUYEN,
KHANH PHUONG NGUYEN,
TUYEN THAI HUYNH,

HUNG PHUOC NGUYEN,

CAD SA ct

LAN MINH NGUYEN,

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BINH THANH NGUYEN,
KRISTINE GUZMAN,

JANIE GONZALEZ,

RALPH RANDY PATINO,

NAM PHUONG HOANG,

PHUC HOANG NGUYEN,

SERGIO MARTINEZ, JR.,

UYEN HA BAO TRAN,
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TRAN HANH UYEN DO,

NEIDA NATALIE LUNA,

SON TONG LAM,

NHAN NGUYEN NGOC DO,

THOMAS AGUILAR,

MANUEL DEJESUS ROMERO,

MELISSA MARICELA DELFIN,

NICOLE RENEE HERNANDEZ,

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HARLEY DAMIAN,
MINH LE PHAM,

KHRYSTYNA REA GONZALEZ,

ESTEPHANY JANETT MORENO,

ASHLEY GREEN,
that in the event of conviction of a violation of, or a conspiracy to commit a violation of, Title 18,

United States Code, Section 1546 as charged in Counts One Hundred through One Hundred Fifty-

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(3) The real property, including all improvements and appurtenances, located at 10911
Hazen Street, Houston, Texas 77072 and legally described as:

Lot Sixteen (16), in Block Sixteen (16), of IMPERIAL POINT, SECTION SIX (6), a
subdivision in Harris County, Texas, according to the map or plat thereof recorded in
Volume 148, Page 98 in the Map Records of Harris County, Texas.

(4) The real property, including all improvements and appurtenances, located at 11571
Willwood Drive, Houston, Texas 77072 and legally described as:

A tract of land out of Reserve “G” of Brays Forest, Section 5, an addition in Harris
County, Texas, according to the map or plat thereof, recorded in Volume 234, Page 120
of the Map Records of Harris County, Texas said tract being more particularly
described by metes and bounds on a Warranty Deed with Vendor’s Lien dated
September 19, 2016 and recorded in the Harris County real property records under
number 2016-424647.

(5) The real property, including all improvements and appurtenances, located at 11403
Carvel Lane, Houston, Texas 77072 and legally described as:

Lot Nine (9), in Block Six (6), of BELLAIRE WEST, SECTION SEVEN (7), an
addition in Harris County, Texas according to the map or plat thereof recorded in
Volume 149, Page | of the Map Records of Harris County, Texas.

(6) The real property, including all improvements and appurtenances, located at 4414 Tufa
Ct, Houston, Texas 77072 and legally described as:

Lot 74, in Block 3, of Brays Forest, Section 1, a subdivision in Harris County, Texas,
according to the map or plat thereof recorded in Volume 147, Page 137, of the map
and/or plat records of Harris County, Texas.

Money Judgment

The United States may seek the imposition of a money judgment.

Substitute Assets

In the event that a condition listed in Title 21, United States Code, Section 853(p) exists,
the United States will seek to forfeit any other property of the defendants in substitution.

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A TRUE BILL:

 

FOREPERSON OF THE GRAND JURY

RYAN K. PATRICK
United States Attorney, Southern District of Texas

 

Adam Laurence Goldman
Assistant United States Attorney
Adam.Goldman2@usdoj.gov

 

Michael Edward Day
Assistant United States Attorney
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Eun Kate Suh
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